                                                                                                                                     A pril 1 1, 2 0 2 5

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H o n or a bl e M ar y K a y V ys k o cil
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            R e:           A m eri c a n Ass o ci ati o n of U ni v ersit y Pr of ess ors et al. v. U. S. D e p art m e nt of
                           J usti c e et al. , C as e N o. 1: 2 5-c v - 0 2 4 2 9

D e ar J u d g e V ys k o cil:

            As c o u ns el f or Pl ai ntiffs i n t h e a b o v e-r ef er e n c e d c as e, w e r es p e ctf ull y ( 1) r e q u est, b as e d
o n n e w d e v el o p m e nts, r e c o nsi d er ati o n of t h e C o urt’s A pril 8, 2 0 2 5 or d er gr a nti n g D ef e n d a nts’
r e q u est f or a n e xt e nsi o n of ti m e t o M a y 1, 2 0 2 5, f or D ef e n d a nts t o r es p o n d t o Pl ai ntiffs’ p e n di n g
m oti o n f or pr eli mi n ar y i nj u n cti o n, E C F N o. 5 7; a n d ( 2) r e q u est t h at t h e C o urt s et a h e ari n g d at e
o n t h e pr eli mi n ar y i nj u n cti o n m oti o n as s o o n as pr a cti c a bl e aft er t h e d e a dli n e f or Pl ai ntiffs’ r e pl y.
As dis c uss e d b el o w, o n t h e s a m e d a y t h at D ef e n d a nts s u b mitt e d t h eir r e q u est f or a n e xt e nsi o n,
A pril 8, 2 0 2 5 ( E C F N o. 5 6), a n d wit h o ut a n y n oti c e t o Pl ai ntiffs or t h e C o urt, D ef e n d a nt N ati o n al
I nstit ut es of H e alt h ( “ NI H ”) fr oz e h u n dr e ds of milli o ns m or e d oll ars i n f e d er al f u n ds t o C ol u m bi a
U ni v ersit y. I n li g ht of t h es e dr a m ati c all y c h a n g e d cir c u mst a n c es t h at w er e n ot k n o w n b y Pl ai ntiffs
a n d n ot dis cl os e d t o t h e C o urt at t h e ti m e t h e e xt e nsi o n w as s o u g ht, Pl ai ntiffs r e q u est t h at t h e
e xt e n d e d d e a dli n e f or D ef e n d a nts’ r es p o ns e b e r es et t o A pril 2 4, 2 0 2 5, a n d t h at t h e C o urt s et a
pr eli mi n ar y i nj u n cti o n h e ari n g t o t a k e pl a c e as s o o n as pr a cti c a bl e aft er t h e d e a dli n e f or Pl ai ntiffs’
r e pl y. D ef e n d a nts o p p os e t his m oti o n.

            Pl ai ntiffs’ p e n di n g pr eli mi n ar y i nj u n cti o n m oti o n s e e ks a n or d er pr o hi biti n g D ef e n d a nts
fr o m t er mi n ati n g, c a n c eli n g, s us p e n di n g, p a usi n g, iss ui n g st o p- w or k or d ers, or ot h er wis e
i nt erf eri n g wit h f e d er al gr a nts t o C ol u m bi a U ni v ersit y, wit h o ut first f ull y c o m pl yi n g wit h all t h e
s u bst a nti v e a n d pr o c e d ur al r e q uir e m e nts of Titl e VI of t h e Ci vil Ri g hts A ct a n d t h e A d mi nistr ati v e
Pr o c e d ur e A cti o n, a n d a n or d er r est ori n g t h e st at us q u o a nt e b y r ei nst ati n g all f e d er al f u n ds t h at
w er e t er mi n at e d, c a n c el e d, s us p e n d e d, p a us e d or ot h er wis e wit h h el d p urs u a nt t o D ef e n d a nts’
d e cisi o n a n n o u n c e d M ar c h 7, 2 0 2 4 t o i m m e di at el y c a n c el $ 4 0 0 milli o n i n f e d er al f u n di n g t o
C ol u m bi a, i n cl u di n g m or e t h a n $ 2 5 0 milli o n i n f u n di n g fr o m D ef e n d a nt NI H. S e e E C F N o. 2 4 at
1; E C F N o. 2 6 at 4.

           I n r es p o ns e t o D ef e n d a nts’ r e q u est f or a n e xt e nsi o n of t h eir bri efi n g d e a dli n e, Pl ai ntiffs
off er e d t h at t h e y w o ul d a gr e e t o a n e xt e nsi o n u ntil M a y 1, if D ef e n d a nts a gr e e d t h at D ef e n d a nts
w o ul d n ot c a n c el, p a us e, or t er mi n at e a n y a d diti o n al f u n di n g t o C ol u m bi a U ni v ersit y u ntil aft er
t h e C o urt h as r ul e d o n Pl ai ntiffs’ p e n di n g pr eli mi n ar y i nj u n cti o n m oti o n. D ef e n d a nts di d n ot a gr e e




  P R O T E C T D E M O C R A C Y. O R G • 2 0 2 0 P E N N S Y L V A NI A A V E. N W # 1 6 3, W A S HI N G T O N, D C 2 0 0 0 6 • I N F O @ P R O T E C T D E M O C R A C Y. O R G
t o t h at r e q u est. B e c a us e D ef e n d a nts di d n ot a gr e e t o r efr ai n fr o m i m p osi n g f urt h er f u n di n g c uts,
gi v e n t h e o n g oi n g h ar m t o Pl ai ntiffs a n d t h eir m e m b ers as w ell as t h e pr os p e ct f or f urt h er h ar m
t h at Pl ai ntiffs s e e k t o pr e v e nt i n t h e p e n di n g pr eli mi n ar y i nj u n cti o n m oti o n, s e e E C F N o. 2 6 at 8-
9, 2 7- 2 8 ( dis c ussi n g o n g oi n g irr e p ar a bl e h ar m), Pl ai ntiffs o p p os e d a n e xt e nsi o n u ntil M a y 1, 2 0 2 5,
w hil e st ati n g t h at Pl ai ntiffs w o ul d a gr e e t o a n e xt e nsi o n u ntil A pril 2 4, 2 0 2 5.

            O n A pril 9, 2 0 2 5, t h e d a y aft er t his C o urt gr a nt e d D ef e n d a nts’ e xt e nsi o n r e q u est, S ci e n c e
r e p ort e d t h at o n A pril 8, 2 0 2 5 —t h e s a m e d a y t h at D ef e n d a nts’ s u b mitt e d t h eir e xt e nsi o n r e q u est
t o t his C o urt — D ef e n d a nt NI H, at t h e i nstr u cti o n of its p ar e nt a g e n c y, D ef e n d a nt U. S. D e p art m e nt
of H e alt h a n d H u m a n S er vi c es ( H H S), b e g a n fr e e zi n g all f e d er al f u n di n g t o C ol u m bi a a n d
d et er mi n e d t h at it will st o p p a yi n g i n v esti g at ors w or ki n g o n all e xisti n g NI H pr oj e cts. S e e S a r a
R e ar d o n, E x cl usi v e: NI H Fr e ez es All R es e ar c h Gr a nts t o C ol u m bi a U ni v ersit y ( A pril 9, 2 0 2 5),
a v ail a bl e at htt ps:// w w w.s ci e n c e. or g/ c o nt e nt/ arti cl e/ ni h-fr e e z es- all -r es e ar c h- gr a nts- c ol u m bi a-
u ni v ersit y, att a c h e d as E x hi bit A. Pl ai ntiffs h a v e als o r e c ei v e d c o pi es of i nt er n al NI H
c orr es p o n d e n c e c o nfir mi n g t h at all NI H f u n di n g t o C ol u m bi a h as b e e n fr o z e n. A c c or di n g t o p u bli c
r e p orti n g, C ol u m bi a r e c ei v e d a b o ut $ 6 9 0 milli o n i n gr a nt f u n di n g fr o m NI H i n 2 0 2 4. S e e i d.
D ef e n d a nts’ n e w a cti o n fr e e zi n g all NI H gr a nts t o C ol u m bi a, wit h o ut pri or n oti c e, t h us a p p e ars t o
i n v ol v e m a n y h u n dr e ds of milli o ns of d oll ars i n a d diti o n al NI H gr a nts b e y o n d t h os e t h at
D ef e n d a nts pr e vi o usl y c a n c el e d or t er mi n at e d. D ef e n d a nts’ es c al ati o n d e m o nstr at es t h e ur g e nt
n e e d f or r es ol uti o n of Pl ai ntiffs’ p e n di n g m oti o n f or a pr eli mi n ar y i nj u n cti o n.

            I n li g ht of D ef e n d a nts’ n e w A pril 8 f u n di n g fr e e z e, Pl ai ntiffs r es p e ctf ull y r e q u est t h at t h e
C o urt r es et t h e d e a dli n e f or D ef e n d a nts t o r es p o n d t o t h e p e n di n g pr eli mi n ar y i nj u n cti o n m oti o n
t o A pril 2 4, 2 0 2 5, a n d t h at t h e C o urt s et a pr eli mi n ar y i nj u n cti o n h e ari n g pr o m ptl y aft er t h e
d e a dli n e f or Pl ai ntiffs’ r e pl y bri ef. T h e C o urt gr a nt e d D ef e n d a nts’ r e q u est t o e xt e n d t h e d ef a ult
A pril 1 7, 2 0 2 5, d e a dli n e i n li g ht of t h e u p c o mi n g P ass o v er a n d H ol y W e e k/ E ast er h oli d a ys. E C F
N o . 5 7. A r e vis e d d e a dli n e of A pril 2 4 w o ul d a c c o m m o d at e P ass o v er ( S at ur d a y e v e ni n g, A pril 1 2,
t hr o u g h S u n d a y, A pril 2 0) a n d t h e H ol y We e k/ E ast er h oli d a ys ( P al m S u n d a y, A pril 1 3, t hr o u g h
E ast er S u n d a y, A pril 2 0). D ef e n d a nts d e cli n e d Pl ai ntiffs’ off er f or a l o n g er e xt e nsi o n if D ef e n d a nts
a gr e e d n ot t o c a n c el a d diti o n al f e d er al f u n di n g t o C ol u m bi a u ntil t h e pr eli mi n ar y i nj u n cti o n m oti o n
is r es ol v e d. D ef e n d a nts’ r ef us al t o a gr e e, c o u pl e d wit h D ef e n d a nts’ d e cisi o n t o fr e e ze h u n dr e ds of
milli o ns of d oll ars i n a d diti o n al NI H gr a nts t h e s a m e d a y, d e m o nstr at es t h e ur g e nt n e e d f or
e x p e dit e d r es ol uti o n of t h e p e n di n g pr eli mi n ar y i nj u n cti o n m oti o n.

                                                                                     R es p e ctf ull y s u b mitt e d,

                                                                                     S / Ori o n D a nj u m a
                                                                                     Ori o n D a nj u m a
                                                                                     R a c h el G o o d m a n
                                                                                     D e a n a K. El- M all a w a n y *
                                                                                     T h e Pr ot e ct D e m o cr a c y Pr oj e ct, I n c.
                                                                                     8 2 N ass a u Str e et, # 6 0 1
                                                                                     N e w Y or k, N Y 1 0 0 3 8




  P R O T E C T D E M O C R A C Y. O R G • 2 0 2 0 P E N N S Y L V A NI A A V E. N W # 1 6 3, W A S HI N G T O N, D C 2 0 0 0 6 • I N F O @ P R O T E C T D E M O C R A C Y. O R G
                                                                                   T el: ( 2 0 2) 5 7 9- 4 5 8 2
                                                                                   F a x: ( 2 0 2) 7 6 9- 3 1 7 6
                                                                                   ori o n. d a nj u m a @ pr ot e ct d e m o cr a c y. or g
                                                                                   r a c h el. g o o d m a n @ pr ot e ct d e m o cr a c y. or g
                                                                                   d e a n a. el m all a w a n y @ pr ot e ct d e m o cr a c y. or g

                                                                                   A n n a D or m a n *
                                                                                   C at h eri n e C h e n *
                                                                                   A mit A g ar w al *
                                                                                   T h e Pr ot e ct D e m o cr a c y Pr oj e ct, I n c.
                                                                                   2 0 2 0 P e n ns yl v a ni a A v e. N W, S uit e # 1 6 3
                                                                                   W as hi n gt o n, D. C. 2 0 0 0 6
                                                                                   T el: ( 2 0 2) 5 7 9- 4 5 8 2
                                                                                   F a x: ( 2 0 2) 7 6 9- 3 1 7 6
                                                                                   a n n a. d or m a n @ pr ot e ct d e m o cr a c y. or g
                                                                                   c at h eri n e. c h e n @ pr ot e ct d e m o cr a c y. or g
                                                                                   a mit. a g ar w al @ pr ot e ct d e m o cr a c y. or g

                                                                                   E v e H. C er v a nt e z *
                                                                                   St a c e y M. L e yt o n *
                                                                                   M att h e w J. M urr a y *
                                                                                   C o n ni e K. C h a n *
                                                                                   J u h y u n g H ar ol d L e e *
                                                                                   J o n at h a n R os e nt h al *
                                                                                   ALTS H ULE R BE RZ O N LLP
                                                                                   1 7 7 P ost St., S uit e 3 0 0
                                                                                   S a n Fr a n cis c o, C A 9 4 1 0 8
                                                                                   T el: ( 4 1 5) 4 2 1- 7 1 5 1
                                                                                   F a x ( 4 1 5) 3 6 2- 8 0 6 4
                                                                                   e c er v a nt e z @ alt b er. c o m
                                                                                   sl e yt o n @ alt b er. c o m
                                                                                   m m urr a y @ alt b er. c o m
                                                                                   c c h a n @ alt b er. c o m
                                                                                   hl e e @ alt b er. c o m
                                                                                   jr os e nt h al @ alt b er. c o m

                                                                                   Ri c h ar d Pri m us *
                                                                                   T h e U ni v ersit y of Mi c hi g a n L a w S c h o ol
                                                                                   (i nstit uti o n al affili ati o n pr o vi d e d f or i d e ntifi c ati o n
                                                                                   p ur p os es o nl y; n ot r e pr es e nti n g t h e U ni v ersit y)
                                                                                   6 2 5 S. St at e Str e et
                                                                                   A n n Ar b or, MI 4 8 1 0 9
                                                                                   T el: ( 7 3 4) 6 4 7- 5 5 4 3




P R O T E C T D E M O C R A C Y. O R G • 2 0 2 0 P E N N S Y L V A NI A A V E. N W # 1 6 3, W A S HI N G T O N, D C 2 0 0 0 6 • I N F O @ P R O T E C T D E M O C R A C Y. O R G
                                                                                        F a x: ( 7 3 4) 7 6 4- 8 3 0 9
                                                                                        Pri m us L a w 1 8 5 9 @ g m ail. c o m

                                                                                        * Pr o h a c vi c e a p pli c ati o n gr a nt e d, p e n di n g, or
                                                                                        f ort h c o mi n g

                                                                                        C o u ns el f or Pl ai ntiffs




Plaintiffs' request for reconsideration of the briefing schedule is DENIED. The Court will promptly
schedule a hearing on Plaintiffs' motion for a preliminary injunction if the motion is not “amenable to
complete resolution on [the] paper record.” St. Joseph’s Hosp. Health Ctr. v. American Anesthesiology
of Syracuse, P.C., 131 F.4th 102, 108 (2d Cir. 2025).



                                                                               April 11, 2025




     P R O T E C T D E M O C R A C Y. O R G • 2 0 2 0 P E N N S Y L V A NI A A V E. N W # 1 6 3, W A S HI N G T O N, D C 2 0 0 0 6 • I N F O @ P R O T E C T D E M O C R A C Y. O R G
